Case 1:22-cv-01859-JMS-MG Document 50-1 Filed 07/05/23 Page 1 of 3 PageID #: 569




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

   THE SATANIC TEMPLE, INC.                  )
                                             )
                    Plaintiff,               )
                                             )
            v.                               ) Case No. 1:22-cv-01859-JMS-MG
                                             )
   TODD ROKITA, in his capacity              )
   as Attorney General of Indiana,           )
   and RYAN MEARS, in his                    )
   capacity as Marion County                 )
   Prosecutor,                               )
                                             )
                  Defendants.                )

                              PLAINTIFF’S RESPONSE TO
                  DEFENDANTS’ FIRST SET OF REQUESTS FOR ADMISSION


  REQUEST NO. 1: The Abortion Clinic is located in New Mexico.

                  RESPONSE: Admits the Abortion Clinic lawfully prescribes abortifacients to

individuals who receive the abortifacients in New Mexico. Otherwise, denies because the Abortion

Clinic does not maintain an office or other physical space for the purpose of an in-person meeting

with a patient.



  REQUEST NO. 2: The Abortion Clinic has never been licensed as an abortion clinic in Indiana

  under 410 IAC 26-2.

                  RESPONSE: Admits.



  REQUEST NO. 3: The Satanic Temple does not presently intend to seek an Indiana license for

  the Abortion Clinic under 410 IAC 26-2.

                  RESPONSE: Admits.
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                                                                                   EXHIBIT A
Case 1:22-cv-01859-JMS-MG Document 50-1 Filed 07/05/23 Page 2 of 3 PageID #: 570




  REQUEST NO. 4: The Satanic Temple has not taken any steps to physically locate an abortion

  clinic in Indiana.

               RESPONSE: Denies as the creation of The Abortion Clinic is a possible precursor to

physically locating an abortion clinic in Indiana.



  REQUEST NO. 5: The Satanic Temple does not presently intend to physically locate an

  abortion clinic in Indiana.

               RESPONSE: Admits.



  REQUEST NO. 6: As of the date of the responses to these requests, The Abortion Clinic does

  not employ any physicians who are licensed to practice medicine in Indiana.

               RESPONSE: Admits.



  REQUEST NO. 7: The Abortion Clinic has never provided abortion inducing drugs to a person

  then-residing in Indiana.

               RESPONSE: Admits the Abortion Clinic has not, to the best of its knowledge,

provided abortion inducing drugs to a person then-residing in Indiana. Can neither admit nor deny

as to all patients as the Abortion Clinic relies on, but cannot vouch for, the truth of the

representation of a patient as to her residency.



  REQUEST NO. 8: The Abortion Clinic does not provide in-person services to patients at a

  physical clinic anywhere in the United States.

               RESPONSE: Admits.

June 8, 2023
                                               W. James Mac Naughton
                                               W. James Mac Naughton, Esq.
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                                                                                       EXHIBIT A
Case 1:22-cv-01859-JMS-MG Document 50-1 Filed 07/05/23 Page 3 of 3 PageID #: 571



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                                        3
                                                                           EXHIBIT A
